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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
             Plaintiff,       )
                              )
    vs.                       )                                8:08CR151
                              )
OSCAR COLMENARES-GONZALEZ and )                                  ORDER
COLMENARES RODRIGUEZ INC.,    )
                              )
             Defendants.      )


       This matter is before the court on the defendant's motion to continue trial (Doc.
101), due to defense counsel's medical condition. For good cause shown, trial will be
continued to March 17, 2009.

        IT IS ORDERED that the motion is granted, as follows:

        1.   The jury trial now set for February 10, 2009 is continued to Tuesday, March 17,
2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between February 10, 2009 and March 17, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

        DATED February 3, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
